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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS




IN RE: DAILY FANTASY SPORTS               1:16-md-02677-GAO
LITIGATION




        DEFENDANTS FANDUEL, INC. AND FANDUEL DEPOSITS, LLC’S
     MOTION TO COMPEL ARBITRATION AND MEMORANDUM OF REASONS




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                                     PRELIMINARY STATEMENT

        FanDuel has been a leading provider of online fantasy sports contests since 2009. Its

contests allow sports enthusiasts to compete for prizes by pitting their player-selected fantasy

team of athletes against other players’ fantasy teams. Before players can compete in these

contests, they must register a FanDuel account and confirm that they agree to FanDuel’s Terms

of Use. As part of those Terms, players agree to arbitrate any claims related to their use of

FanDuel’s website. The very first line of the Terms tells players that in choosing to participate

in FanDuel’s contests, they are agreeing to resolve any disputes through arbitration:

                 IMPORTANT NOTICE: THIS AGREEMENT IS SUBJECT TO
                 BINDING ARBITRATION AND A WAIVER OF CLASS ACTION
                 RIGHTS AS DETAILED IN SECTION 15

        FanDuel asks that prospective players read the “[b]inding arbitration and class action

waiver” section “carefully” because “IT MAY SIGNIFICANTLY AFFECT YOUR LEGAL

RIGHTS, INCLUDING YOUR RIGHT TO FILE A LAWSUIT IN COURT.”

        Despite assenting to FanDuel’s Terms, Plaintiffs1 have now filed a class-action lawsuit,

in an attempt to end-run the arbitration and class-waiver agreements they made with FanDuel.

The Federal Arbitration Act does not countenance such tactics, and neither should this Court.

Plaintiffs should be compelled to arbitrate the claims they now try to litigate.

        First, Plaintiffs are bound by FanDuel’s Terms of Use. The Court should enforce those

Terms—including the arbitration and class-waiver provisions. Second, the arbitration agreement

delegates to the arbitrator, not to any court, all disputes “arising out of or relating to the

    1
        This motion addresses three categories of plaintiffs: (1) “Player Plaintiffs”—those who registered to
participate in FanDuel’s online fantasy sports contests; (2) “Family Member Plaintiffs”—those whose claims arise
out of their family members’ use of FanDuel’s website; and (3) “DraftKings Plaintiffs”—those plaintiffs who
registered only with FanDuel’s competitor, DraftKings, but who nevertheless assert claims against FanDuel. The
latter two categories are referred to together as “Non-Player Plaintiffs.” All three categories are referred to
collectively as “Plaintiffs.” FanDuel does not move to compel arbitration as to plaintiffs Nelson C. Steiner, Brackie
Bryant, Peter Johnson, and Aissa Khirani. See ECF No. 312.


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interpretation, applicability, enforceability or formation of” the Terms of Use—including

threshold questions of arbitrability. Thus, not only are all of Plaintiffs’ general claims subject to

arbitration, but so too are any challenges to the existence, scope, and validity of the arbitration

clause. This, FanDuel submits, ends the inquiry. Third, even if the Court disagrees that the

arbitrator decides arbitrability, the Court still should enforce the arbitration agreement because

all enforcement requirements have been satisfied. Plaintiffs have no basis for avoiding the

agreement they made to arbitrate their claims, and the Court should direct the parties to

arbitration in accordance with that agreement.

                                                  BACKGROUND

I.          FanDuel’s Account Registration Process

            FanDuel offers Internet-based fantasy sports games on its website, fanduel.com. All

prospective players must create a FanDuel account before they are eligible to play. According to

the Complaint, each Player Plaintiff set up a FanDuel account between 2011 and 2015. First

Am. Master Compl. (FAMC) ¶¶ 33–88, ECF No. 269.

            To register an account, prospective players first must navigate to FanDuel’s website or

download, install, and open FanDuel’s mobile application.2 Decl. of Dylan Kidder in support of

FanDuel’s Mot. to Compel Arb. (“Kidder Decl.”) ¶ 6 & n.1. Each prospective player then

encounters a button that reads “Join Now” or “Join” and must click it before proceeding. Id.

Clicking that button takes prospective players to FanDuel’s online registration form. Id., Ex. B.

Prospective players must complete the form by entering a name, e-mail address, and a desired

FanDuel username and password, and then clicking the “Play Now” button. Kidder Decl. ¶¶ 7–

8. Immediately below that button, a conspicuous notification informs players that



     2
         No Player Plaintiff alleges he or she registered a FanDuel account using the mobile application.


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                By signing up, you confirm that you are at least 18 years of age
                and agree to the Terms of Use.

Kidder Decl. ¶ 8, Ex. A; see also Ex. B. The bolded phrase “Terms of Use” is a hyperlink to

FanDuel’s complete Terms of Use at “www.fanduel.com/terms.” Id. No prospective player can

complete registration or compete in FanDuel’s online contests without first clicking the “Play

Now” button and finishing the entire registration process. Id.

        A.      FanDuel’s Terms of Use and the Arbitration Agreement

        FanDuel notifies players in several areas that use of the website means they are assenting

to the Terms. For example, at the very top of its Terms of Use page, FanDuel provides an

                IMPORTANT NOTICE: THIS AGREEMENT IS SUBJECT TO
                BINDING ARBITRATION AND A WAIVER OF CLASS ACTION
                RIGHTS AS DETAILED IN SECTION 15.


Kidder Decl. Exs. C & D.3 Section 1 spells out unequivocally what the players are agreeing to:

                By accessing the Site or using any part of the Site or any content or
                services (as each is defined below) on the Site, you agree to become bound
                by these terms and conditions. If you do not agree to all terms and
                conditions, then you may not access the Site or use the content of any
                services in the Site.


Kidder Decl. Ex. C § 1; see also Ex. D § 1.

        Section 15—the binding arbitration and class action waiver section—describes the

procedure for resolving disputes between the parties. It asks players to read the section carefully:

                PLEASE READ THIS SECTION CAREFULLY – IT MAY
                SIGNIFICANTLY AFFECT YOUR LEGAL RIGHTS, INCLUDING
                YOUR RIGHT TO FILE A LAWSUIT IN COURT.

See, e.g., Kidder Decl. Ex. D at § 15.4
    3
      FanDuel has had Terms of Use at least as early as 2010, Kidder Decl. Ex. E, and has updated those Terms
from time to time. The “Important Notice” listed at the very top of FanDuel’s Terms has been part of the Terms
since at least August 19, 2013. Compare Kidder Decl. Ex. C with Ex. D


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                   1.       The Arbitration Provision5

          Section 15 provides a first-level, informal dispute resolution process, but if that process

does not resolve the disagreement, then either party can “initiate binding arbitration as the sole

means to resolve claims.” Id. §§ 15.1, 15.2 (emphasis added).6 Binding arbitration is

administered by the American Arbitration Association (AAA) in accordance with its

Commercial Arbitration Rules and the supplementary procedures for consumer disputes—

excluding rules or procedures governing or permitting class actions. Id. § 15.2.

                            a.      Scope and Delegation

          The arbitration agreement is broad, covering “all claims arising out of or relating to these

Terms (including their formation, performance and breach), the parties’ relationship with each

other and/or your use of the Service.” Id. Moreover, the parties expressly delegate broad

authority to the arbitrator—including all threshold questions of arbitrability.

                   The arbitrator, and not any federal, state or local court or agency, shall
                   have exclusive authority to resolve all disputes arising out of or relating
                   to the interpretation, applicability, enforceability or formation of [the
                   Terms of Use], including, but not limited to any claim that all or any part
                   of these Terms are void or voidable, or whether a claim is subject to
                   arbitration.

Id. (emphasis added).

                            b.      Arbitration Location and Fees

          For players who are U.S. residents, FanDuel agrees to arbitrate in a place convenient to

the player. Id. § 15.3. FanDuel pays “all of the actual filing and arbitrator fees” for all non-

    4
      FanDuel has made no substantive changes to its arbitration and class waiver provisions (Section 15 of its
Terms of Use) since the August 19, 2013 Terms of Use. Compare Kidder Decl. Ex. C § 15 with Ex. D § 15.
Therefore, for citations to Section 15 and for ease of reference, FanDuel cites primarily to the current Terms of Use,
provided as Exhibit D to Mr. Kidder’s declaration.
    5
        DraftKings’ Terms contains a similar arbitration agreement. See DraftKings Mot. to Compel Arb. at 3–4.
    6
      As discussed below, the Terms of Use includes an exception for certain types of claims, including qualifying
claims in small claims court.


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frivolous claims (as determined by the arbitrator), provided the non-frivolous claim does not

exceed $75,000. Id. § 15.2.

                          c.       Class-Action Waiver Provision

          The agreement includes a provision limiting players’ and FanDuel’s ability to bring class

action lawsuits. Specifically, the parties “agree that any arbitration shall be conducted in their

individual capacities only and not as a class action or other representative action, and the parties

expressly waive their right to file a class action or seek relief on a class basis.” Id. § 15.4.

                 YOU AND FANDUEL AGREE THAT EACH MAY BRING CLAIMS
                 AGAINST THE OTHER ONLY IN YOUR OR ITS INDIVIDUAL
                 CAPACITY, AND NOT AS A PLAINTIFF OR CLASS MEMBER IN
                 ANY PURPORTED CLASS OR REPRESENTATIVE PROCEEDING.

Id.

                          d.       The Opt-Out Provision

          The agreement notifies players that they “have the right to opt-out and not be bound by

the arbitration and class action waiver” provisions. Id. § 15.6. How players effect a timely opt-

out is explained clearly: They must send written notice to FanDuel within 30 days after the

player first uses FanDuel’s services. Id.

                                                ARGUMENT7

          Under the FAA, upon motion of either party to an arbitration agreement, courts must

compel arbitration “in accordance with the terms of the agreement.” 9 U.S.C. § 4.8 The Act


      7
      The parties’ have stipulated that for purposes of this motion, “Defendant FanDuel’s user agreements are to be
interpreted in accordance with New York law.” Stipulation ¶ 6, ECF No. 283 (filed Sept. 28, 2016).
      8
      The FAA broadly applies to any transaction directly or indirectly affecting interstate commerce. See, e.g.,
Allied-Bruce Terminix Cos. v. Dobson, 513 U.S. 265, 277 (1995); Prima Paint Corp. v. Flood & Conklin Mfg. Co.,
388 U.S. 395, 401–02 (1967); see also 9 U.S.C. §§ 1–2. FanDuel, a Delaware corporation with its headquarters in
New York, offers fantasy sports contests online via its website and mobile app to users throughout the United States
(excluding a limited number of specific jurisdictions). Plaintiffs are residents of various states throughout the
country. Courts hold that the FAA’s interstate commerce requirement is satisfied in these circumstances. See, e.g.,
Mahoney v. DeNuzzio, Civ. No. 13-11501-FDS, 2014 WL 347624, at *5 (D. Mass. Jan. 29, 2014) (noting that


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embodies the “liberal federal policy favoring arbitration” as an alternative dispute resolution

mechanism and the “fundamental principle that arbitration is a matter of contract.” AT&T

Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011) (citations and quotation marks omitted);

see also Rodriguez de Quijas v. Shearson/Am. Express, Inc., 490 U.S. 477, 480–81 (1989);

Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24 (1983). The FAA

recognizes a “strong policy in favor of rigorously enforcing arbitration agreements.” KKW

Enters., Inc. v. Gloria Jean’s Gourmet Coffees Franchising Corp., 184 F.3d 42, 49 (1st Cir.

1999); Shearson/Am. Express, Inc. v. McMahon, 482 U.S. 220, 226 (1987).

         In determining whether to compel arbitration, two gateway issues should be evaluated:

(1) whether the parties have a valid agreement to arbitrate; and (2) whether that agreement

covers the dispute. See PacifiCare Health Sys., Inc. v. Book, 538 U.S. 401, 407 n.2 (2003);

Howsam v. Dean Witter Reynolds, Inc., 537 U.S. 79, 83–84 (2002); Grand Wireless, Inc. v.

Verizon Wireless, Inc., 748 F.3d 1, 5–6 (1st Cir. 2014). The FAA “leaves no place for the

exercise of discretion by the district court, but instead mandates that [it] shall direct the parties to

proceed to arbitration on issues as to which an arbitration agreement has been signed.” Dean

Witter Reynolds Inc. v. Byrd, 470 U.S. 213, 218 (1985); Genesco, Inc. v. T. Kakiuchi & Co., Ltd.,

815 F.2d 840, 844 (2d Cir. 1987). “Once a court is satisfied that an arbitration agreement is valid

and the claim before it is arbitrable, it must stay or dismiss further judicial proceedings and order

the parties to arbitrate.” Nunez v. Citibank, N.A., No. 08 Cv. 5398(BSJ), 2009 WL 256107, at *2

(S.D.N.Y. Feb. 3, 2009).9


transmissions over the Internet implicate interstate commerce); McGrath & Co., LLC v. PCM Consulting, Inc., C.A.
No. 11-10930-DJC, 2012 WL 503629, at *6 (D. Mass. Feb. 15, 2012) (same); Am. Libraries Ass’n v. Pataki, 969 F.
Supp. 160, 170 (S.D.N.Y. 1997) (noting that the Internet “is wholly insensitive to geographic distinctions”).
    9
      In their Master Complaint, Plaintiffs suggest that their express agreement to FanDuel’s Terms was somehow
invalid, but their own pleading also alleges that “Plaintiffs entered into contracts and ‘Terms of Use’ with” FanDuel.
FAMC ¶ 667. While the Master Complaint goes on to allege the Terms are unenforceable, Plaintiffs nevertheless


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          Whether a particular dispute is arbitrable in the first instance is a question for the

arbitrator to decide, where, as here, “the parties clearly and unmistakably” delegate that question

to the arbitrator. Howsam, 537 U.S. at 83. Any “doubts concerning the scope of arbitrable

issues should be resolved in favor of arbitration, whether the problem at hand is the construction

of the contract language itself or an allegation of waiver, delay, or a like defense to arbitrability.”

Moses H. Cone Mem’l Hosp., 460 U.S. at 24–25. The party seeking to avoid arbitration has the

burden of showing that the arbitration provision is unenforceable. Green Tree Fin. Corp.-Ala. v.

Randolph, 531 U.S. 79, 91 (2000).

I.        All Three Categories of Plaintiffs Are Bound By a Valid Agreement to Arbitrate.

          A.      Player Plaintiffs

          “Arbitration agreements are contracts and their meaning is to be determined from the

language employed by the parties under accepted rules of contract law.” Cowen & Co. v.

Anderson, 558 N.E.2d 27, 28 (N.Y. 1990); Roby v. Corp. of Lloyd’s, 996 F.2d 1353, 1362 n.2

(2d Cir. 1993). Under New York law, contracts are created when the parties demonstrate mutual

assent to all material terms.10 Express Indus. & Terminal Corp. v. N.Y. State Dept. of Transp.,

715 N.E.2d 1050, 1053 (N.Y. 1999). This includes agreements made over the Internet, where

“binding contracts are made when the user takes some action demonstrating that they have at

least constructive knowledge of the terms of the agreement, from which knowledge a court can

infer acceptance.” Starke v. Gilt Groupe, Inc., No. 13 CIV. 5497(LLS), 2014 WL 1652225, at

*2 (S.D.N.Y. Apr. 24, 2014) (quoting Hines v. Overstock.com, Inc., 380 F. App’x 22, 25 (2d Cir.


have acknowledged the contractual relationship between the parties. As discussed in Section II, infra, the Plaintiffs
have assented to the delegation clause in the Terms of Use irrespective of whether the Terms are enforceable, and as
such, any challenges to the Terms as a whole must be arbitrated, not litigated.
     10
        In deciding whether parties agreed to arbitrate their disputes—including threshold questions of arbitrability—
courts generally “apply ordinary state-law principles that govern the formation of contracts.” First Options of Chi.,
Inc. v. Kaplan, 514 U.S. 938, 944 (1995).


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2010); accord Cullinane v. Uber Techs., Inc., No. 14-14750-DPW, 2016 WL 3751652, at *5–8

(D. Mass. July 11, 2016) (applying Massachusetts law). It does not matter whether the online

users “actually read the contract’s terms,” where, as here, they nevertheless are “directed exactly

where to click in order to review those terms.” Starke, 2014 WL 1652225, at *3.

       By proceeding through FanDuel’s online registration, Player Plaintiffs unequivocally

manifested assent to FanDuel’s Terms—including the arbitration provision and the delegation

provision it contains.

            Each player completed a registration form and clicked the “Play Now” button;
            Immediately below that button, just like in Starke, conspicuous text advised players
             that “[b]y signing up, you confirm that you are at least 18 years of age and agree to
             the Terms of Use”; and
            The phrase “Terms of Use” is in bold font and hyperlinks, with a click of the mouse,
             directly to FanDuel’s full Terms of Use, which make clear that by agreeing to the
             Terms, the player also agrees to arbitrate any disputes against FanDuel.

Kidder Decl. ¶¶ 7–8 and Exs. A & B.

       Courts applying New York law have found contractual assent in similar situations. For

example, in Fteja v. Facebook, Inc., 841 F. Supp. 2d 829 (S.D.N.Y. 2012), the plaintiff opposed

Facebook’s invocation of a forum-selection clause because he claimed there was no proof he

agreed to those terms. Id. at 834. Facebook countered that a potential user “cannot become an

actual Facebook user unless and until they have clicked through the registration page where they

acknowledge they have read and agreed to Facebook’s terms of use.” Id. (citation and quotation

marks omitted). Facebook explained that to sign up, prospective users had to click a “Sign Up”

button and that “immediately below” that button, the following notice appeared: “By clicking

Sign-Up, you are indicating that you have read and agree to the Terms of Service.” Id. at 835.

The phrase “Terms of Service” was underlined and, like here, hyperlinked to the full Terms of

Service. See id. The plaintiff “was informed of the consequences of his assenting click and he


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was shown, immediately below, where to click to understand those consequences. That was

enough.” Id. at 840.

         Similarly, in Starke, the plaintiff opposed defendant Gilt’s invocation of a mandatory

arbitration provision, arguing that he “never effectively agreed to it.” 2014 WL 1652225, at *2.

Gilt’s sign-up process included a sign-up box featuring a “Shop Now” button accompanied by

statements that the “consumer will become a Gilt member and agrees to be bound by the Terms

of Membership” and that by “joining Gilt through email or Facebook sign-up, you agree to the

Terms of Membership for all Gilt Groupe sites.” Id. at *1 (citations, quotation marks, and

emphasis omitted). Within the sign-up box, one click of the mouse would take users to Gilt’s

full terms and conditions. As in Fteja, the court found this process sufficient to demonstrate

assent, explaining that when plaintiff “clicked ‘Shop Now,’ he was informed that by doing so,

and giving his email address, [he] agreed to the Terms of Membership,” regardless of whether he

actually read the contract’s terms. Id. at *3 (internal quotation marks omitted).11

         So too here. Player Plaintiffs clicked the “Play Now” button after first being informed

that by doing so, they were agreeing to FanDuel’s Terms—which they could access directly by

the click of a mouse. Under the law, this demonstrates assent and sufficiently binds Player

Plaintiffs to those Terms—including the arbitration provision.12



    11
       Numerous courts have reached the same conclusion. See, e.g., Small Justice LLC v. Xcentric Ventures LLC,
C.A. No. 13-cv-11701, 2015 WL 1431071, at *4 (D. Mass. Mar. 27, 2015) (plaintiff was on inquiry notice of terms
when conspicuous links were displayed on users’ screens); Tompkins v. 23andMe, Inc., No. 5:13-CV-05682-LHK,
2014 WL 2903752, at *8 (N.D. Cal. June 25, 2014) (plaintiffs bound to arbitration clause in defendant’s terms of
service; “fact that the TOS were hyperlinked and not presented on the same screen does not mean that customers
lacked adequate notice”); Swift v. Zynga Game Network, Inc., 805 F. Supp. 2d 904, 912 (N.D. Cal. 2011) (enforcing
arbitration clause where “Plaintiff was provided with an opportunity to review the terms of service in the form of a
hyperlink immediately under the ‘I accept’ button”); PDC Labs., Inc. v. Hach Co., No. 09-1110, 2009 WL 2605270,
at *3 (C.D. Ill. Aug. 25, 2009) (regardless of whether plaintiff actually read defendant’s terms, plaintiff was bound
to them because hyperlink to Terms was conspicuously displayed on defendant’s order page).
    12
     According to FanDuel’s records, only two Plaintiffs registered their FanDuel accounts before August 19,
2013—when the current version of the arbitration agreement became effective: (1) Brian Martinelli signed up on


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         B.      Non-Player Plaintiffs

                 1.       Family Member Plaintiffs

         Although Family Member Plaintiffs do not claim to have participated directly in

FanDuel’s contests, they nevertheless are bound to arbitrate their claims.13 A non-signatory to an

arbitration agreement may be bound by an arbitration agreement under ordinary principles of

contract law, in certain circumstances present here. See Merrill Lynch Int’l Fin., Inc. v.

Donaldson, 895 N.Y.S.2d 698, 702 (2010). Indeed, “it is not the case that ‘an obligation to

arbitrate attaches only to one who has personally signed the written arbitration provision[.]’”

Denney v. BDO Seidman, L.L.P., 412 F.3d 58, 71 (2d Cir. 2005) (quoting Thomson-CSF, S.A. v.

Am. Arbitration Ass’n, 64 F.3d 773, 776 (2d Cir. 1995)). Here, the doctrine of equitable estoppel

obligates Family Member Plaintiffs to arbitrate their claims.

                          a.       Family Member Plaintiffs Directly Benefitted from FanDuel’s
                                   Terms of Use.

         Under equitable estoppel, “a nonsignatory may be compelled to arbitrate where [it]

‘knowingly exploits’ the benefits of an agreement containing an arbitration clause, and receives

benefits flowing directly from the agreement.” In re Belzberg v. Verus Invs. Holdings Inc., 999

N.E.2d 1130, 1134 (N.Y. 2013) (citing MAG Portfolio Consult, GmbH v. Merlin Biomed Grp.

March 28, 2013; (2) Scott Walters signed up March 18, 2013. Kidder Decl. ¶ 12; compare FAMC ¶¶ 76,
78. Despite their sign-up dates, both Martinelli and Walters are bound by the current arbitration provisions. First,
their continued use of FanDuel’s site and services after the current arbitration provision went into effect, together
with their express agreement to accept subsequent modifications to the TOUs, binds them to the arbitration
provision in its current iteration. Kidder Decl. ¶¶ 9, 13 & Ex. F § 2; see Ward v. TheLadders.com, Inc., 3 F. Supp.
3d 151, 158–59 (S.D.N.Y. Mar. 12, 2014); Sacchi v. Verizon Online LLC, No. 14-cv-423-RA, 2015 WL 765940, at
*5–7 (S.D.N.Y. Feb. 23, 2015). Indeed, Martinelli last played a FanDuel contest in October 2015; Walters played as
recently as November 14, 2016. Kidder Decl. ¶¶ 14–15. Both continue to maintain active FanDuel accounts to this
day, and have access to FanDuel’s terms, which are accessible from virtually every page of FanDuel’s
website. Kidder Decl. ¶¶ 10, 16. Second, in April 2016, FanDuel notified, by e-mail, all active registrants of its
modified Terms. Kidder Decl. ¶ 11. Martinelli’s and Walters’s decision to continue maintaining active accounts
after receiving the notice also binds them to the current arbitration provision. See Coiro v. Wachovia Bank, N.A.,
Civ. No. 11-3587, 2012 WL 628514, at *3-4 (D.N.J. Feb. 27, 2012); Sacchi, 2015 WL 765940, at *7.
    13
      To be clear, FanDuel denies that Family Member Plaintiffs are entitled to any recovery under the statutes they
invoke. But because this motion addresses only the arbitration issue, FanDuel will reserve its merits-based
arguments for another day.


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LLC, 268 F.3d 58, 61 (2d Cir. 2001)). “[S]o long as a non-signatory has received a direct benefit

from a contract, it is not essential that the non-signatory be shown to have interacted regularly

with the signatory that seeks to enforce an arbitration clause.” Amkor Tech., Inc. v. Alcatel Bus.

Sys., 278 F. Supp. 2d 519, 523 (E.D. Pa. 2003). “The guiding principle is whether the benefit

gained by the nonsignatory is one that can be traced directly to the agreement containing the

arbitration clause.” Belzberg, 999 N.E.2d at 1136. A non-signatory “directly benefits from an

agreement . . . if it enables that party to receive a tangible benefit, typically a financial” one. See

McKenna Long & Aldridge, LLP v. Ironshore Specialty Ins. Co., Nos. 14-cv-6633(KBF), 14-cv-

6675(KBF), 2015 WL 144190, at *9 (S.D.N.Y. Jan. 12, 2015); see also Deloitte Noraudit A/S v.

Deloitte Haskins & Sells, U.S., 9 F.3d 1060, 1064 (2d Cir. 1993).

         There is no question that Family Member Plaintiffs stood to benefit directly and tangibly

from their relatives’ assent to FanDuel’s Terms of Use. As the spouses of certain Player

Plaintiffs,14 they would share in whatever economic winnings their relatives netted from

competing in FanDuel’s contests. Those winnings stemmed directly from the relatives’

relationship with FanDuel and flowed in part from the contract between FanDuel and the players.

         Allowing Family Member Plaintiffs to avoid the arbitration agreement would permit

them to game the system entirely: By suing, they try to avoid any of the economic losses their

relatives might have sustained (and the arbitration clause their relatives agreed to), while

simultaneously protecting any winnings their relatives might have earned. See generally FAMC

¶¶ 499–505. By claiming that FanDuel’s Terms are unenforceable as to them, but only insofar as

the losses and the arbitration obligation are concerned (and not the winnings that flowed to them


    14
      Rebecca McGuire alleges that she is “mother and next-of-kin” of “DFS Player” Martin Backer, a resident of
Davidson County, Tennessee. FAMC ¶ 93. Although Ms. McGuire alleges Mr. Backer lost money on
FanDuel.com, id., Mr. Backer himself brings claims against only Defendant DraftKings, not FanDuel. FAMC ¶ 79.


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by virtue of their relatives’ playing FanDuel’s contests), Family Member Plaintiffs try to exploit

the Terms in a way the law does not countenance. They can’t have it both ways. See Best

Concrete Mix Corp. v. Lloyd’s of London Underwriters, 413 F. Supp. 2d 182, 187 (E.D.N.Y.

2006) (holding that plaintiff was bound by arbitration provision “because it wishes to avail itself

of the protection and direct benefits afforded” by the contract); Life Techs. Corp. v. AB Sciex Pte.

Ltd., 803 F. Supp. 2d 270, 274, 276 (S.D.N.Y. 2011) (holding non-signatory defendant estopped

from avoiding arbitration where it “knowingly exploited a direct benefit of a separate agreement

containing an arbitration clause” and where non-signatory’s claims “flow[ed] directly from [that]

agreement”) (citation and quotation marks omitted); see also Int’l Paper Co. v. Schwabedissen

Maschinen & Anlagen GmbH, 206 F.3d 411, 418 (4th Cir. 2000) (“To allow [plaintiff] to claim

the benefit of the contract and simultaneously avoid its burdens would both disregard equity and

contravene the purposes underlying enactment of the Arbitration Act.”) (citation and quotation

marks omitted); Haskins v. First Am. Title Ins. Co., 866 F. Supp. 2d 343, 350 (D.N.J. 2012)

(“[E]quitable estoppel prevents a non-signatory from ‘cherry-picking’ beneficial contract terms

while ignoring other provisions that don’t benefit it or that it would prefer not to be governed by

such as an arbitration clause.”); Fluehmann v. Assocs. Fin. Servs., No. CIV.A. 01-40076-NMG,

2002 WL 500564, at *7 (D. Mass. Mar. 29, 2002) (holding that non-signatory was bound to

arbitration agreement in part to avoid allowing her to “game[] the system”).15




    15
       In the same vein, Family Member Plaintiffs are bound to arbitrate their claims because they are derivative of
the rights of their relatives’ agreements to FanDuel’s Terms. See THI of N.M. At Hobbs Ctr., LLC, v. Spradlin, 893
F. Supp. 2d 1172, 1190–91 (D.N.M. 2012), aff’d, 532 F. App’x 813 (10th Cir. 2013). Had the relatives not agreed
to FanDuel’s Terms and participated in FanDuel’s contests, the Family Member Plaintiffs would have no causes of
action against FanDuel. As such, their claims are derivative of their relatives’ claims, and Family Member Plaintiffs
therefore are “likewise bound” to the arbitration provision. See Spradlin, 532 F. App’x at 818.


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                 2.       DraftKings Plaintiffs

         DraftKings Plaintiffs likewise should be compelled to arbitrate their claims against

FanDuel by virtue of their assent to DraftKings’ Terms of Use, and notwithstanding their claim

that they never agreed to FanDuel’s Terms. Although FanDuel is not a signatory to the

agreements between DraftKings and DraftKings Plaintiffs, a non-signatory to an arbitration

agreement nevertheless can compel a signatory to arbitrate “in either of two circumstances:

(1) when a signatory must rely on the terms of the written agreement in asserting its claims

against the nonsignatory or (2) when a signatory raises allegations of substantially

interdependent and concerted misconduct by both the nonsignatory and one or more of the

signatories to the contract.” Machado v. System4 LLC, 28 N.E.3d 401, 409 (Mass. 2015)

(internal citations and quotation marks omitted); see also Sourcing Unlimited, Inc. v. Asimco

Int’l, Inc., 526 F.3d 38, 47 (1st Cir. 2008) (non-signatory can compel signatory to arbitrate when

the signatory’s claims “are intertwined with the agreement that the estopped party has signed”);

World Gym, Inc. v. Pla-Fit Franchise, LLC, No. 12-cv-11620-DJC, 2013 WL 3830164, at *6 (D.

Mass. July 19, 2013) (same).16

         DraftKings Plaintiffs agreed to arbitrate threshold arbitrability questions—including

those related to the “existence, scope or validity” of the arbitration clause (see DraftKings Mot.

to Compel Arb. 5–6)—but even if they had not, both conditions for estoppel are met and either

one is sufficient to prevent them from avoiding arbitration. See Machado, 28 N.E.3d at 409 n.15.

DraftKings Plaintiffs bring civil conspiracy claims against FanDuel, alleging that DraftKings and

FanDuel allowed their employees to compete against players in each other’s fantasy sports

contests. See FAMC ¶¶ 386–89, 430–32, 662, 664. DraftKings Plaintiffs claim they were


    16
      To the extent any of the DraftKings Plaintiffs also registered accounts with FanDuel, they should be
compelled to arbitrate their claims based on FanDuel’s Terms of Use, for all the same reasons as Player Plaintiffs.


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injured through their use of DraftKings’ website because they were unknowingly competing

against FanDuel employees. Id. ¶ 430. Thus, their claims intertwine with their participation in

DraftKings online contests. See Machado, 28 N.E.3d at 409. By assenting to those Terms

before they played, DraftKings Plaintiffs agreed to arbitrate “[a]ny and all disputes, claims or

controversies arising out of or relating to [the DraftKings] Agreement, the breach thereof, or any

use of the Website (including all commercial transactions conducted through the Website).”

DraftKings Mot. to Compel Arb. 3–4.

        Similarly, DraftKings Plaintiffs’ civil conspiracy claims against FanDuel are based on

alleged concerted misconduct by FanDuel (the non-signatory) and DraftKings (a signatory). See,

e.g., FAMC ¶¶ 1–2, 386, 395-96, 398, 409–12, 421–23, 661–65; Machado, 28 N.E.3d at 412–13.

Given their allegations, DraftKings Plaintiffs cannot avoid the arbitration agreement in

DraftKings’ Terms. See Machado, 28 N.E.3d at 412.

II.     The Arbitrator, Not This Court, Should Decide Arbitrability.

        The existence of a valid, binding arbitration agreement ends the inquiry because, under

that agreement, the parties have delegated even threshold arbitrability questions to the arbitrator.

In other words, because there is a valid agreement with a valid (indeed, uncontested) delegation

provision, whatever objections Plaintiffs might have to arbitrability of their claims are for the

arbitrator, not the Court.

        Before reaching questions about the enforceability of an arbitration agreement, a court

examines the underlying contract to determine whether the parties have agreed, clearly and

unmistakably, to commit to the arbitrator any threshold questions of arbitrability. Awuah v.

Coverall N. Am., Inc., 554 F.3d 7, 10 (1st Cir. 2009) (arbitrator decides both whether the dispute

is arbitrable as well as challenges “to the validity of the contract itself,” where the “parties have



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themselves ‘clearly and unmistakably [so] agreed’”); see also Rent-A-Center, W., Inc. v. Jackson,

561 U.S. 63, 70 (2010) (“An agreement to arbitrate a gateway issue is simply an additional,

antecedent agreement the party seeking arbitration asks the federal court to enforce, and the FAA

operates on this additional arbitration agreement just as it does on any other.”); Buckeye Check

Cashing, Inc. v. Cardegna, 546 U.S. 440, 446 (2006). If the parties have so agreed, the court

need look no further because it is the arbitrator—not the court—that then decides arbitrability.

Bekele v. Lyft, Inc., --- F. Supp. 3d ----, No. 15-cv-11650-FDS, 2016 WL 4203412, at *4 n.3 (D.

Mass. Aug. 9, 2016) (“The validity and enforceability of an arbitration agreement’s delegation

clause is usually a threshold issue for the court to address, and if it is valid and enforceable, it is

the only issue the court will reach.”); accord Brennan v. Opus Bank, 796 F.3d 1125, 1130–32

(9th Cir. 2015) (“[A] court must enforce an agreement that, as here, clearly and unmistakably

delegates arbitrability questions to the arbitrator. . . .”).

        Here, the parties’ delegation provision demonstrates that they clearly and unmistakably

agreed that the arbitrator decides arbitrability.

                The arbitrator, and not any federal, state or local court or agency, shall
                have exclusive authority to resolve all disputes arising out of or relating
                to the interpretation, applicability, enforceability or formation of these
                Terms, including, but not limited to any claim that all or any part of these
                Terms are void or voidable, or whether a claim is subject to arbitration.

Kidder Decl. ¶ 8, Ex. D § 15.2 (emphasis added); Mohamed v. Uber Techs., Inc., 836 F.3d 1102,

1108–10 (9th Cir. 2016) (finding clear and unmistakable delegation where agreement “delegated

to the arbitrators the authority to decide issues relating to the ‘enforceability, revocability or

validity of the’” arbitration provision); Anderson v. Pitney Bowes, Inc., No. C 04-4808 SBA,

2005 WL 1048700, at *3 (N.D. Cal. May 4, 2005) (compelling arbitration where “arbitration

clause facially [gave] an arbitrator the exclusive authority to determine his or her own



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jurisdiction”). This clear manifestation of an agreement to reserve the arbitrability question for

the arbitrator should end the inquiry—particularly given that none of Plaintiffs’ allegations

related to FanDuel’s Terms or the arbitration agreement challenge the validity of the delegation

provision. See FAMC ¶¶ 481–98.17

         Lest there be any doubt about delegation, however, the parties’ agreement also

incorporates the AAA’s Commercial Arbitration Rules, Kidder Decl. Ex. D § 15.2, which make

clear that the arbitrator decides arbitrability: “The arbitrator shall have the power to rule on his

or her own jurisdiction, including any objections with respect to the existence, scope, or validity

of the arbitration agreement or to the arbitrability of any claim or counterclaim.”18 As a host

of courts have held, “[w]here [the] parties agree that the AAA rules will govern, questions

concerning the scope and validity of the arbitration agreement, including issues of arbitrability,

are reserved for the arbitrators.” In re Flintlock Constr. Servs., LLC v. Weiss, 122 A.D.3d 51, 54

(N.Y. App. Div. 2014); Awuah, 554 F.3d at 9–11 (same); Cullinane, 2016 WL 3751652, at *8–9

(same); Icdas Celik Enerji Tersane Ve Ulasim Sanayi A.S. v. Travelers Ins. Co., 81 A.D.3d 481,

483 (N.Y. App. Div. 2011) (“[G]iven the arbitration clause’s specific incorporation by reference

of AAA rules, the question of arbitrability, which includes the existence, scope and validity of

the arbitration agreement, is for the arbitrator to determine.”); Life Receivables Trust v. Goshawk

Syndicate 102 at Lloyd’s, 66 A.D.3d 495, 496 (2009), aff’d, 927 N.E.2d 553 (N.Y. 2010) (where

the parties agreement specifically incorporates the AAA rules, “the scope and validity of the


    17
       As a matter of “substantive federal arbitration law, an arbitration provision is severable from the remainder of
the contract,” such that a party’s “challenge to [other] provision[s] of the contract, or to the contract as a whole, does
not prevent a court from enforcing the specific agreement to arbitrate.” Rent-A-Center, 561 U.S. at 70–71 (citation
and quotation marks omitted). Indeed, “unless [a party has] challenged the delegation provision specifically,
[courts] must treat it as valid under [Section 2 of the FAA], and must enforce it under [Sections 3 and 4], leaving
any challenge to the validity of the [contract] as a whole for the arbitrator.” Id. at 72.
    18
         AAA, Commercial Arbitration Rules and Mediation Procedures, R-7 (Jurisdiction), available at
https://www.adr.org/aaa/ShowProperty?nodeId=/UCM/ADRSTG_004103 (emphasis added).


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arbitration agreement, necessarily including issues of arbitrability, are for the arbitration tribunal

to determine”); accord Brennan, 796 F.3d at 1130; Oracle Am., Inc. v. Myriad Grp. A.G., 724

F.3d 1069, 1074–75 (9th Cir. 2013). Any threshold issues of arbitrability must be decided by the

arbitrator—not this Court.

III.   All Other Enforcement Requirements Are Satisfied.

       Although it is clear from the parties’ express agreement that the question of arbitrability

is reserved for the arbitrator, Plaintiffs nevertheless make a number of allegations about the

Terms of Use, most of which center on claims of unconscionability. See FAMC ¶¶ 486–95.

These assertions are for the arbitrator to decide, and even if reached here (and they should not

be), they are without merit. All requirements for enforcing the parties’ arbitration agreement are

satisfied here. See Grand Wireless, 748 F.3d at 6 (noting requirements for enforcing an

arbitration agreement).

       A.      The Parties Agreed to Arbitrate the Claims Plaintiffs Now Bring.

       The parties’ arbitration agreement is broad in scope and covers all the claims made by

Plaintiffs. The FAA requires courts to compel arbitration “unless it may be said with positive

assurance that the arbitration clause is not susceptible of an interpretation that covers the

asserted dispute.” AT&T Techs., Inc. v. Commc’ns Workers of Am., 475 U.S. 643, 650 (1986)

(citation and quotation marks omitted; emphasis added). Where the “language of an arbitration

clause is broad and in the absence of any express provision excluding a particular grievance from

arbitration, . . . only the most forceful evidence of a purpose to exclude the claim from arbitration

can prevail.” Grand Wireless, 748 F.3d at 8 (citation and internal quotation marks omitted).

Doubts “concerning the scope of arbitrable issues should be resolved in favor of arbitration.”

Moses H. Cone Mem’l Hosp., 460 U.S. at 24–25.




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         Here, the parties agreed to arbitrate all claims arising out of FanDuel’s Terms, the parties’

relationship with each other, and the use of FanDuel’s site. Plaintiffs’ claims against FanDuel

indisputably arise out of and relate to Player Plaintiffs’ use of FanDuel’s site, their participation

in FanDuel’s contests, or their assent to FanDuel’s Terms.19 See, e.g., FAMC ¶¶ 14, 20, 26, 430,

539, 625–26, 654 (alleging claims and legal theories arising out of participation in FanDuel

contests). They must therefore be arbitrated.20

         B.      Plaintiffs Cannot Avoid their Agreement to Arbitrate.

         FanDuel’s Terms are not unconscionable. “A determination of unconscionability

generally requires a showing that the contract was both procedurally and substantively

unconscionable when made—i.e., some showing of an absence of meaningful choice on the part

of one of the parties together with contract terms which are unreasonably favorable to the other

party.” Gillman v. Chase Manhattan Bank, N.A., 534 N.E.2d 824, 828 (N.Y. 1988) (internal

quotation marks and citations omitted). Plaintiffs must plead facts supporting both forms of

unconscionability, and they bear the burden of proof. Accurate Copy Serv. of Am., Inc. v. Fisk

Bldg. Assocs. L.L.C., 72 A.D.3d 456, 457 (N.Y. App. Div. 2010); E.H. Ashley & Co. v. Wells

Fargo Alarm Servs., 907 F.2d 1274, 1278 (1st Cir. 1990) (noting that party seeking to invalidate

a contract for unconscionability bears the burden of demonstrating unconscionability).



    19
       And, as discussed in Section I.B.2, supra, the DraftKings Plaintiffs should be compelled to arbitration by
virtue of their agreement to DraftKings’ arbitration provision.
    20
       See, e.g., Louis Dreyfus Negoce S.A. v. Blystad Shipping & Trading, Inc., 252 F.3d 218, 225 (2d Cir. 2001)
(“When parties use expansive language in drafting an arbitration clause, presumably they intend all issues that
‘touch matters’ within the main agreement to be arbitrated.”) (citation omitted); McDonnell Douglas Fin. Corp. v.
Pa. Power & Light Co., 858 F.2d 825, 831–32 (2d Cir. 1988) (strong presumption of arbitrability applies with even
greater force when the arbitration provision is a broad one); Meisels v. Uhr, 593 N.E.2d 1359, 1364 (N.Y. 1992)
(“[B]road arbitration agreements are permissible. [New York courts] have never required that arbitration agreements
identify with specificity those disputes which are being submitted.”); JLM Indus., Inc. v. Stolt-Nielsen SA, 387 F.3d
163, 172 (2d Cir. 2004) (“We have said that [i]f the allegations underlying the claims touch matters covered by the
parties’ contracts, then those claims must be arbitrated, whatever the legal labels attached to them.”) (citation and
quotation marks omitted).


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                 1.       Procedural Unconscionability

         The parties’ arbitration agreement is not procedurally unconscionable. At least five

factors determine whether there was a “lack of meaningful choice”: (1) “the size and

commercial setting of the transaction”; (2) “whether deceptive or high-pressured tactics were

employed”; (3) “the use of fine print in the contract”; (4) “the experience and education of the

party claiming unconscionability”; and (5) “whether there was disparity in bargaining power.”

Gillman, 534 N.E.2d at 828 (citations omitted). FanDuel’s arbitration agreement is presented to

players clearly and openly during registration, and the prospective player can abandon

registration and choose not to move forward or play at any point during sign-up.21 See Hill v.

Gateway 2000, Inc., 105 F.3d 1147, 1150 (7th Cir. 1997) (plaintiffs had multiple ways to

discover, and refuse, the applicable terms and conditions both before and after purchase). Even

if Plaintiffs failed to review and reject the agreement at registration, they still could have

exercised their “opt out” rights within 30 days.22

                 2.       Substantive Unconscionability

         Nor are FanDuel’s Terms substantively unconscionable. “[A]n unconscionable bargain

has been regarded as one such as no [person] in his [or her] senses and not under delusion would

make on the one hand, and as no honest and fair [person] would accept on the other.” Christian

v. Christian, 365 N.E.2d 849, 855 (N.Y. 1977) (quoting Hume v. United States, 132 U.S. 406,

411 (1889)) (internal quotation marks omitted). The inequality “must be so strong and manifest

as to shock the conscience and confound the judgment of any man of common sense.” Mandel v.


    21
       Plaintiffs may try to argue that FanDuel’s Terms constitute an unconscionable adhesion contract. That’s
wrong. See Concepcion, 563 U.S. at 346–47; see also Mance v. Mercedes-Benz USA, 901 F. Supp. 2d 1147, 1161
(N.D. Cal. 2012) (“The clear import of Concepcion . . . pushes against finding that an adhesive contract, without
more, is per se procedurally unconscionable.”).
    22
       Indeed, FanDuel is not seeking to compel to arbitration plaintiffs in this MDL who effectively opted out of
the arbitration obligation. See FanDuel’s Stmnt., ECF No. 312 (filed Nov. 2, 2016).


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Liebman, 100 N.E.2d 149, 152 (N.Y. 1951) (citation and quotation marks omitted). “[C]ourts

will not set aside an agreement on the ground of unconscionability simply because it was

improvident,” Infosino v. Infosino, 204 A.D.2d 324, 324 (N.Y. App. Div. 1994), and “the fact

that the arbitration agreements effectively preclude [plaintiffs] from pursuing a class action does

not alone render them substantively unconscionable.” Hayes v. Cty. Bank, 26 A.D.3d 465, 467

(N.Y. App. Div. 2006). Under these precepts, FanDuel’s arbitration agreement is not

unconscionable. FanDuel offers a free, simple dispute resolution process through its customer

service department and agrees to pay all arbitration fees for claims less than $75,000. The

agreement also includes provisions to ensure that any arbitration is conducted in a location

convenient, not to FanDuel, but to claimants bringing a dispute. And if players choose to pursue

their respective claims in small claims court, they retain their right to do so. These aspects

demonstrate that FanDuel’s arbitration provision easily withstands any claims of

unconscionability.

                                         CONCLUSION

       FanDuel respectfully requests that the Court order Plaintiffs to arbitrate their claims

against FanDuel.

Dated: November 16, 2016                              Respectfully Submitted,

                                                      /s/ David F. McDowell

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                             REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(d), Defendant FanDuel, Inc. respectfully requests oral

argument on this motion. Oral argument would enable FanDuel to address any questions that the

Court may have regarding arguments raised by the parties in their briefing.

             CERTIFICATION OF COMPLIANCE WITH LOCAL RULE 7.1

       I hereby certify pursuant to Local Rule 7.1(a)(2) that counsel for Defendant FanDuel, Inc.

corresponded with counsel for Plaintiffs on numerous occasions via telephone and other means,

in an attempt to resolve the issue presented by this motion, but were unable to do so. Further, in

an attempt to narrow the scope of this motion, and in line with this Court’s request (see ECF

No. 291), counsel for FanDuel filed a Statement Regarding Initial Motions, identifying Plaintiffs

for whom FanDuel will not move to compel arbitration (ECF No. 312).

                                                              /s/ Benjamin D. Williams
                                                              Benjamin D. Williams

                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 16th day of November, 2016, this document was

electronically filed with the Clerk of the Court using the CM/ECF system and will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF),

pursuant to Local Rule 5.4(C).

                                                              /s/ Benjamin D. Williams
                                                              Benjamin D. Williams




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